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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTICT OF FLORIDA

                                            CASE NO.:

 CHLOE TSAKIRIS ALSTON,

         Plaintiff,

 v.

 www.calculator.com; Unknown Registrant
 A/K/A Ruth Yakobzon; Stands4 LTD; and
 GoDaddy.com, LLC,

       Defendants.
 ____________________________________/

                                    VERIFIED COMPLAINT

         Plaintiff CHLOE TSAKIRIS ALSTON, by and through undersigned counsel, hereby files

 this Verified Complaint against Defendants, www.calculator.com (the “Domain Name”);

 Unknown Registrant A/K/A Ruth Yakobzon (“Unknown Registrant”); Stands4 LTD; and

 GoDaddy.com, LLC, and as grounds thereof, states as follows:

                                        INTRODUCTION

      1. This is an action regarding a stolen internet domain name, www.calculator.com (the

         “Domain Name”).

      2. Plaintiff is seeking i) a declaration, pursuant to the Declaratory Judgment Act, as to the

         rights to the Defendant Domain Name, ii) for violation of the Anticybersquatting Consumer

         Protection Act, 15 U.S.C. § 1125(d), iii) for violation of the Computer Fraud and Abuse

         Act, 18 U.S.C. § 1030, iv) for Unjust Enrichment, and v) Trespass to Chattels, Computer

         Trespass and Conversion.




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    3. Defendant Unknown Registrant has fraudulently taken control of the Domain Name, in

       violation of Plaintiff’s ownership and trademark rights, and subsequently transferred the

       stolen Domain Name to Defendant Stands4 LTD, thereby depriving Plaintiff of its

       ownership rights to the Domain Name and redirecting the income generated from the

       website to the Unknown Registrant and the Defendant Stands4 LTD. Defendant Unknown

       Registrant and Defendant Stands4 LTD have prevented Plaintiff from using and controlling

       her domain name causing irreparable injury to Plaintiff.

    4. The Plaintiff is seeking injunctive and other equitable relief as a result of the actions of the

       Defendants Unknown Registrant and Stands4 LTD.

    5. A Verified Application for Entry of Temporary Restraining Order, Preliminary Injunction,

       and Memorandum of Law in Support Thereof is being filed contemporaneously with this

       Complaint.

                                 JURISDICTION AND VENUE

    6. This action arises out of Unknown Registrant and Stands4 LTD’s violation of Anti-

       cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d) and the Computer Fraud

       and Abuse Act, 18 U.S.C. § 1030. Accordingly, this Court has original jurisdiction

       pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1338. This Court has supplemental

       jurisdiction for Plaintiff’s claims for trespass to chattels, unjust enrichment and

       conversion pursuant to 28 U.S.C. § 1367.

    7. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

       because this action arises out of Defendant’s violation of the Federal Computer Fraud and

       Abuse Act, (18 U.S.C. § 1030), Electronic Communications Privacy Act (18 U.S.C. §

       2701), and the Lanham Act (15 U.S.C. §§1114, 1125).



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    8. This Court also has subject matter jurisdiction over this action under 28 U.S.C. § 1332,

       and the matter in controversy exceeds the sum of or value of $75,000, exclusive of

       interest and costs.

    9. Defendants Unknown Registrant and Stands4 LTD are subject to personal jurisdiction in

       this district because they direct business activities toward and conduct business with

       consumers and users of the Domain Name throughout the United States, including within

       the State of Florida and this district through the Internet based website operated at the

       Domain Name accessible in Florida. Prior to the theft of the Domain Name, substantial

       business was conducted in the State of Florida, with thousands of unique website visitors

       within the State of Florida on a monthly basis. Based on information and belief, the

       website continues to conduct substantial business in the State of Florida.

    10. Defendant GoDaddy.com, LLC is subject to personal jurisdiction in this district because

       they direct business activities toward and conduct business with consumers throughout

       the United States, including within the State of Florida and this district.

    11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c) because Defendants

       Unknown Registrant and Stands4 LTD are, upon information and belief, aliens engaged

       in infringing activities and causing harm within this district by advertising, offering

       services, and/or displaying the infringing website located at the Domain Name in this

       district.

                                            PARTIES

    12. Plaintiff CHLOE TSAKIRIS ALSTON is an individual residing in the state of New

       York.




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    13. Defendant Unknown Registrant A/K/A Ruth Yakobzon (“Unknown Registrant”) is an

       unknown person residing in an unknown location. Based upon information and belief,

       Defendant Unknown Registrant has engaged in substantial activity in the State of Florida

       in connection with the matters from which this action arises. Additionally, based on

       information and belief, Defendant Unknown Registrant uses the aliases “Ruth

       Yakobzon;” however, Plaintiff has reason to believe that this is not the Unknown

       Registrant’s real name.

    14. Defendant Stands4 LTD is an entity with principal address located in HaMerkaz, Israel,

       as is reflected as the current owner of the Domain Name in a domain name database that

       is accessible at whois.com:




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       Based upon information and belief, Defendant Stands4 LTD conducts business activities

       in the State of Florida by its operation of the website at the Domain Name, which is

       viewable by and directed at consumers and users throughout the United States, including

       within the State of Florida.

    15. Defendant GoDaddy.com, LLC is a limited liability company, duly organized and

       existing under the laws of Delaware, with its principal office and place of business

       located in Scottsdale, Arizona. Based on information and belief, Defendant

       GoDaddy.com, LLC does business in the State of Florida. Defendant GoDaddy.com,

       LLC is named as a nominal defendant for purposes of enforcement.

                                 GENERAL ALLEGATIONS

    16. The Domain Name “www.calculator.com” was registered in the name of Plaintiff CHLOE

       TSAKIRIS ALSTON in January of 1996 by her father, Nicholas Tsakiris Alston.

    17. Since registering the domain name in January of 1996, CHLOE TSAKIRIS ALSTON and

       her father have been developing and operating the calculator.com website continuously and

       without interruption under the trademark/service mark “calculator.com” to market its

       services throughout the world. Based on this prior use, Plaintiff owns the trademark/service




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       mark “calculator.com” (hereinafter also referred to as the “Trademark”) and is entitled to

       trademark protection of its name.

    18. Plaintiff and her father, Nicholas Tsakiris Alston (“Nicholas” or “Nicholas Alston”)

       operate the business of calculator.com, wherein they provide various online calculators to

       the public free of charge, generating advertising revenue and value for the Domain Name

       based upon a large number of visitors to the calculator.com website.

    19. Since registering the Domain Name, CHLOE TSAKIRIS ALSTON and her father have

       spent approximately 24 years and substantial sums of money in developing, marketing and

       promoting the services offered on the website and the calculator.com brand over the

       Internet using the Trademark.

    20. As a result of Plaintiff’s use of the calculator.com Trademark since the year 1996, including

       extensive development, marketing and promotion of its services, the calculator.com

       Trademark is distinctive and has become well known and famous in the geographic regions

       in which Plaintiff does business, has acquired name recognition and invaluable good will,

       and has acquired secondary meaning such that the public throughout the countries and

       states in which calculator.com does business associates the calculator.com Trademark with

       Plaintiff’s reliable online calculator services.

    21. Plaintiff CHLOE TSAKIRIS ALSTON’s website operated at her Domain Name

       www.calculator.com has over approximately 166,000 daily active users on a monthly basis

       from around the world who utilize the services provided on the website (see Exhibit “A”).

    22. The website operated at the Domain Name www.calculator.com is essential to market its

       services to individuals and clients around the world, and is the sole and exclusive location

       for the services offered by Plaintiff.



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     23. Network Solutions, LLC is a registrar, that is, an organization that is accredited to sell

        domain names that are managed by Verisign, the top-level domain name registry of .com

        domain names1.




     24. Network Solutions, LLC is the registrar where the Domain Name was initially registered

        by Plaintiff in January of 1996.

     25. GoDaddy.com, LLC is the registrar where the Domain Name is currently registered, and is

        named as a nominal defendant herein.




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   Non-party ICANN manages the Domain Name System (DNS) and accredits registrars to sell
 top-level domain names (such as .com, .net, .info). As relates to .com domain names, ICANN
 has authorized Verisign as the top-level domain name registry for the management of the
 registration of .com domain names (through ICANN accredited registrars), and of their domain
 name system (DNS). The 2012 “.com Registry Agreement” between ICANN and Verisign can
 be accessed online at https://www.icann.org/resources/agreement/com-2012-12-01-en .
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    26. Plaintiff CHLOE TSAKIRIS ALSTON utilized the website that was accessible through the

       Domain Name to operate a business providing internet users with various online

       calculators. The Domain Name has generated income by way of advertising revenue

       exclusively for Plaintiff CHLOE TSAKIRIS ALSTON and her family.

    27. In support of and as proof of Plaintiff CHLOE TSAKIRIS ALSTON’s ownership of the

       Trademark, the following exhibits are attached hereto:

           a. Screen shots of Plaintiff’s Google Analytics account page showing active users

              from June 27, 2016 through July 3, 2020, as well as active users by State, attached

              as Composite Exhibit “A” hereto.

           b. A screenshot of Plaintiff’s Google Adsense account detail from January 2007

              through January of 2020 indicating estimated earnings, page views, and other

              relevant data related to performance of the calculator.com website through,

              attached as Exhibit “B” hereto.

           c. A screen shot of a Google search of the name “Nicholas Tsakiris Alston,”

              indicating relevant search results related to the management of the calculator.com

              website, attached as Exhibit “C” hereto.

           d. A photo of Plaintiff’s “calculator.com” logo which has been utilized by Plaintiff

              on its website for at least 20 years, which is indicative of Plaintiff’s use of the

              calculator.com name in commerce, and a screenshot of an image reflecting a web

              archive of the Plaintiff’s calculator.com website from January 1, 2006 displaying

              the logo, attached as Composite Exhibit “D” hereto. The web archive screen shot

              is a true and accurate representation of a portion of the Plaintiff’s website as of

              that date.



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           e. Screenshots of Plaintiff’s Upwork account, wherein Plaintiff solicited contractors

              to perform updates to the calculator.com website, including a major upgrade to

              the main calculator, at a cost of approximately $12,000, attached as Composite

              Exhibit “E” hereto.

           f. A sampling of various emails sent and received by me or my father related to the

              calculator.com website and Domain Name ranging from 2001 through 2013,

              attached as Composite Exhibit “F” hereto.

    28. On or about November of 2018, Plaintiff discovered that her domain name was being

       transferred without Plaintiff’s authorization to a different named owner, Defendant

       Unknown Registrant, and auctioned off on sedo.com—an online marketplace and trade

       platform used to auction and sell Internet domain names.

    29. Plaintiff learned of the theft of the Domain Name when a person named Richard

       Kershaw, the winner of the online auction, contacted her and her father, Nicholas Alston,

       to determine whether the sale was legitimate. Copies of several emails questioning the

       legitimacy of the sale are attached as Composite Exhibit “G” hereto. Plaintiff informed

       Richard Kershaw that the sale was fraudulent, then checked with Network Solutions and

       discovered that the calculator.com Domain Name was being transferred out of Plaintiff’s

       account.

    30. Richard Kershaw forwarded the PDF Payment Request that he received from the

       Defendant Unknown Registrant with respect to the sedo.com auction, in which Defendant

       Unknown Registrant utilized the name “Ruth Yakobzon,” with an address of “1 Cheryl

       Ln, 01821 Billerica United States.” Richard Kershaw indicated that he was suspicious of

       the purchase because the name of the seller on the auction website (Ruth Yakobzon) did



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        not match the Plaintiff’s name, which was listed on the public WHOIS domain name

        registration information database. Additionally, the owner of the United States property

        address did not match the name of the seller. A true and correct copy of the email

        conversation and the PDF Payment Request are attached as Composite Exhibit “H”

        hereto.

     31. Plaintiff and her father immediately contacted Network Solutions to stop the transfer and

        restore the account contact details to Chloe’s real email address.

     32. During phone calls with Network Solutions staff, Plaintiff learned that Defendant

        Unknown Registrant fraudulently induced Network Solutions to change the contact

        details of the Domain Name’s owner to that of Unknown Registrant’s by creating and

        using an email account that impersonates the Plaintiff, Chloe Alston (to wit:

        chloe.alstonnet@gmail.com) and sending Network Solutions a fake Connecticut Driver’s

        License and fake utility bill as proof of identification. Network Solutions accepted the

        fraudulent documents and changed the ownership information of the Domain Name,

        including the email address associated with the account, to that of Defendant Unknown

        Registrant. Defendant Unknown Registrant was therefore able to take control of the

        account, list the Domain Name for sale and attempt to transfer the Domain Name out of

        Plaintiff’s account. A screenshot of the fraudulent ownership information as listed by

        Network Solutions after Defendant Unknown Registrant successfully induced Network

        Solutions to remove Plaintiff’s contact details and swap it with that of Unknown

        Registrant’s is attached as Exhibit “I” hereto.

     33. Network Solutions stopped the transfer, but unbeknownst to Plaintiff, failed to restore the

        correct contact information. As a result, Unknown Registrant was able to transfer the



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        Domain Name to Defendant Unknown Registrant’s account with the GoDaddy.com, LLC

        registrar in April of 2020, and thereafter, transfer the Domain Name to Defendant

        Stands4 LTD’s account with the registrar GoDaddy.com, LLC on June 19, 2020.

     34. The Plaintiff’s account was hacked by Defendant Unknown Registrant, who fraudulently

        transferred the domain name www.calculator.com to Defendant Unknown Registrant’s

        own account with Defendant GoDaddy.com, LLC and based on information and belief,

        has sold the Domain Name to Defendant Stands4 LTD in the hope of extracting a quick

        payoff and profit from its theft of the Domain Name from Plaintiff, the rightful owner.

     35. The Defendant Unknown Registrant’s transfer of the domain name www.calculator.com

        was in bad faith, and for the singular purpose of seeking to profit from its theft.

     36. Similarly, Defendant Stands4 LTD acquired ownership of the Domain Name in bad faith,

        without conducting due diligence to determine the identity of the rightful owner of the

        Domain Name, and intends to profit from its ownership and operation of the website

        located at the Domain Name. As indicated above, a simple search of the online Whois

        domain name database would have revealed that Plaintiff was the true owner of the website.

     37. The Domain Name is highly valuable and its loss has deprived the Plaintiff of the income

        revenue generated by the business as well as depriving Plaintiff of its valuable position

        on the search results, deteriorating its search engine rankings. To date, Plaintiff has lost

        approximately $10,000 per month in gross advertising revenues as a result of the domain

        name hijacking, and the search engine rankings has now dropped from number one to

        number six, which equates to a roughly 60% decrease in monthly revenues (assuming

        ownership of the Domain Name is restored to Plaintiff).




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     38. Additionally, Plaintiff has been deprived of the value of the Domain Name itself, which

        is worth approximately $1,237,000 according to estibot.com, an online domain name

        appraisal service. A true and correct screenshot of the estibot.com appraisal of

        calculator.com is attached as Exhibit “J” hereto.

     39. Based upon knowledge and belief, non-party ICANN has authorized Defendant

        GoDaddy.com, LLC and Network Solutions, LLC as ICANN accredited registrars to sell

        .com domain names, managed by Verisign, and therefore ICANN and Verisign can

        facilitate the transfer of a .com domain name between .com registrars and to the proper

        registrant.

     40. Plaintiff CHLOE TSAKIRIS ALSTON has retained the undersigned counsel to represent

        them in this lawsuit and have agreed to pay it a reasonable fee.

     41. All conditions precedent to this lawsuit have been met by Plaintiff or have been waived

        by the Defendants.

                                   COUNT I
            VIOLATION OF THE FEDERAL ANTICYBERSQUATTING CONSUMER
                                PROTECTION ACT

     42. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

        as though fully set forth herein.

     43. Plaintiff CHLOE TSAKIRIS ALSTON has owned the Domain Name since 1996, has

        used it in commerce to generate substantial income revenue and has common law rights

        in the calculator.com trademark. Plaintiff’s mark “calculator.com” has been used

        continuously since the year 1996.

     44. The Trademark “calculator.com” is distinctive and has become famous in the countries

        and states in which Plaintiff does business, and is therefore entitled to protection.



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        Millions of visitors have utilized the calculator services offered by Plaintiff at the

        Domain Name across many different states within the United States (see Exhibit “A”).

     45. On or about November of 2018, Defendant Unknown Registrant fraudulently replaced

        the contact details and ownership information listed with Network Solutions with that of

        Defendant Unknown Registrant. When Plaintiff learned of an attempted transfer of the

        Domain Name, Plaintiff immediately contacted Network Solutions to restore the contact

        information and stop the transfer. Network Solutions stopped the transfer, but

        unbeknownst to Plaintiff, failed to restore the contract information and ownership details

        to that of Plaintiff.

     46. Without authorization, Defendant Unknown Registrant transferred the Domain Name to

        Defendant Unknown Registrant’s account with the GoDaddy.com, LLC registrar in April

        of 2020, and thereafter, transferred the Domain Name to Defendant Stands4 LTD’s

        account with the registrar GoDaddy.com, LLC on June 19, 2020.

     47. The domain name www.calculator.com belongs to the Plaintiff CHLOE TSAKIRIS

        ALSTON, and is identical to the mark owned by Plaintiff CHLOE TSAKIRIS ALSTON

     48. By virtue of Defendant Unknown Registrant’s transfer of the domain name

        www.calculator.com, and Defendant Stands4 LTD’s receipt of the same, the Defendants

        have diverted CHLOE TSAKIRIS ALSTON’s website visitors, the business, and income,

        and have caused confusion in the marketplace. Indeed, Defendants Unknown Registrant

        and Stands4 LTD’s actions constitute registration, trafficking, or use of a domain name

        that is confusingly similar to the Plaintiff’s trademark, with bad faith intent to profit

        therefrom.




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     49. Defendants Unknown Registrant and Stands4 LTD registered the www.calculator.com

        domain name in bad faith with the sole purpose and intent to profit from the domain

        name.

     50. Because of the Defendants’ actions, Plaintiff is being prevented from using and

        exercising control over the domain name www.calculator.com and deriving income

        therefrom.

     51. Defendants have no legal trademark rights in “calculator.com” and in fact, do not utilize

        said mark for any purpose other than through its improper transfer, registration and

        operation of the www.calculator.com domain name and website.

     52. As a result of Defendants’ transfer of the domain name www.calculator.com, Plaintiff has

        incurred damages, and shall continue to suffer damages including loss of revenue, loss of

        business, loss of business opportunities, and loss of the significant value of the Domain

        Name itself unless enjoined.

     53. The above described conduct of Defendants Unknown Registrant and Stands4 LTD

        constitutes unlawful cybersquatting in violation of the Anti-cybersquatting Consumer

        Protection Act, 15 U.S.C. § 1125(d)(1).

     54. In addition to actual and compensatory damages, Plaintiff is entitled to the maximum

        statutory damages pursuant to 15 U.S.C § 1117(d).

     55. Plaintiff requests that, pursuant to 15 U.S.C. § 1125, the Court Order the ownership of

        www.calculator.com to be transferred to CHLOE TSAKIRIS ALSTON, the rightful

        owner of the domain name.

     56. Pursuant to 15 U.S.C. §1117(a), Plaintiff is entitled to an award of its reasonable

        attorney’s fees and costs.



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     57. The actions of Defendants are knowing, willful and malicious, thus making this case an

         exception within the meaning of 15 U.S.C. § 1117.

     58. For the foregoing reasons, pursuant to 15 U.S.C. § 1125(d)(2)(D)(I), the Plaintiff is

         entitled to an order transferring the registration of the Domain Name to Plaintiff’s

         ownership and account.

         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter judgment in Plaintiff’s favor and against Defendants Unknown Registrant and Stands4

  LTD, award Plaintiff actual and compensatory damages, statutory damages, attorney’s fees and

  costs of filing this lawsuit, transfer the ownership of www.calculator.com to CHLOE TSAKIRIS

  ALSTON, and for any further relief this Court deems just and proper.


                                       COUNT II
                           CLAIM FOR DECLARATORY JUDGMENT

     59. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

         as though fully set forth herein.

     60. Plaintiff’s Domain Name was registered in 1996 and, as alleged above, Plaintiff has

         maintained uninterrupted control over the Domain Name since that time until stolen by

         Defendants Unknown Registrant and Stands4 LTD.

     61. Defendants Unknown Registrant and Stands4 LTD’s actions have taken control of the

         Domain Name from Plaintiff without authorization or permission.

     62. The Declaratory Judgment Act, 28 U.S.C. § 2201, provides for a declaration of the rights

         of the Plaintiff in this matter.

         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter an order declaring that Defendants Unknown Registrant and Stands4 LTD do not have any



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  rights to the domain name www.calculator.com, and that said domain name belongs to CHLOE

  TSAKIRIS ALSTON, and for any further relief this Court deems just and proper.

                                         COUNT III
                                    TRADEMARK DILUTION

     63. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

         as though fully set forth herein.

     64. This is an action for Trademark Dilution pursuant to 15 U.S.C. § 1125(c), and pursuant to

         Section 495.151, Florida Statutes.

     65. Plaintiff is the owner of the calculator.com Trademark.

     66. Plaintiff has continuously used the calculator.com Trademark since the initial registration

         of the website domain name in January of 1996.

     67. Through Plaintiff’s continuous use, marketing and development, and substantial effort

         and investment, Plaintiff’s Trademark has become distinctive and famous in the many

         countries and states in which it does business.

     68. Defendants Unknown Registrant and Stands4 LTD have illegally transferred and

         registered the domain name www.calculator.com, which is identical to Plaintiff’s

         Trademark.

     69. Defendants’ registration and adoption of Plaintiff’s Trademark occurred after Plaintiff’s

         mark became famous.

     70. Defendants’ use and ownership of the www.calculator.com domain name is likely to

         dilute the distinctive quality of Plaintiff’s Trademark. By registering the Plaintiff’s

         trademark as the domain name and preventing Plaintiff from registering and using its

         own Trademark on the Internet as a domain name, Defendants have eliminated Plaintiff’s

         ability to market its services on the Internet and have diverted Plaintiff’s primary source

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        of income. Defendants have therefore interfered with Plaintiff’s ability to use the Internet

        for marketing, promoting and offering its services.

     71. Defendants’ use of Plaintiff’s Trademark is commercial and in commerce, as the

        Defendants’ sole purpose and intent in registering the domain name www.calculator.com

        is to profits from the stolen domain name.

     72. Defendants willfully intended to trade on the Plaintiff’s mark and cause dilution to

        Plaintiff’s Trademark, and Defendants should therefore be liable for damages, in addition

        to the other remedies sought herein.

        WHEREFORE, Plaintiff requests this Honorable Court enter judgment:

            A. Temporarily and permanently enjoining Defendants Unknown Registrant and

                Stands4 LTD, their officers, employees, and agents, and all persons or entities in

                active concert or participation with either of them, from using, displaying,

                advertising or selling services under, or otherwise doing business using the

                Trademark, including all formative variations thereof, and from using any name

                confusingly similar to the Trademark, including its present name;

            B. Ordering Defendant Stands4 LTD to transfer the domain name

                www.calculator.com to CHLOE TSAKIRIS ALSTON;

            C. Order Defendants to account for and pay all profits derived from, and all damages

                suffered by CHLOE TSAKIRIS ALSTON by reason of Defendants’ unlawful use

                of the Trademark;

            D. Order Defendants to pay the costs of this action; and

            E. Order such other relief as the Court deems necessary, just and proper.




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                                 COUNT IV
              UNFAIR COMPETITION – FALSE DESIGNATION OF ORIGIN

     73. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

        as though fully set forth herein.

     74. This is an action for False Designation of Origin under 15 U.S.C. § 1125(a).

     75. Defendants Unknown Registrant and Stands4 LTD used Plaintiff’s Trademark in

        commerce by holding themselves out to the public as the owners of the domain name

        www.calculator.com without Plaintiff’s consent or authorization.

     76. Defendants’ use of Plaintiff’s Trademark is in connection with the sale of goods or

        services, as the Defendants’ intent in registering the domain name www.calculator.com is

        to profit from the transfer and ownership of the domain name.

     77. Moreover, Defendants are intentional infringers, and therefore, likelihood of confusion is

        presumed.

     78. The conduct of Defendants Unknown Registrant and Stands4 LTD in using the

        Trademark is a misappropriation of CHLOE TSAKIRIS ALSTON’s Trademark, and

        constitutes unfair competition.

     79. Defendants Unknown Registrant and Stands4 LTD actively participated and authorized,

        controlled, ratified, and were the moving, active and conscious force behind Defendants’

        utilization of www.calculator.com, as they intentionally and illegally transferred said

        domain name and continue to illegally operate a website at the Domain Name.

     80. Defendants’ use of the Trademark is likely to cause confusion or mistake or to deceive as

        to the source of the origin of the services offered on the website. Specifically, because

        Internet users typically access a company’s web site by assuming that the company’s




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         domain name corresponds to its mark, the Internet user is likely to believe that the

         infringing domain name is associated with the Plaintiff.

     81. As a result, CHLOE TSAKIRIS ALSTON has been damaged.

     82. Defendants acted with malice and/or with the willful and wanton disregard of CHLOE

         TSAKIRIS ALSTON’s rights in unlawfully misappropriating CHLOE TSAKIRIS

         ALSTON’s Trademark, and otherwise utilizing and controlling the domain name

         www.calculator.com, knowing that this would result in consumer confusion and/or

         deceive consumers as to the source of the origin of the services offered on the website.

         Accordingly, Plaintiff is entitled to punitive damages against Defendants Unknown

         Registrant and Stands4 LTD.

         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter judgment:

            A. Temporarily and permanently enjoining Defendants Unknown Registrant and

                Stands4 LTD, their officers, employees, and agents, and all persons or entities in

                active concert or participation with either of them, from using, displaying,

                advertising or selling its services under, or otherwise doing business using the

                Trademark, including all formative variations thereof, and any name confusingly

                similar to the Trademark;

            B. Order Defendants to pay all compensatory damages;

            C. Award punitive damages as a result of the egregious and malicious conduct

                described herein;

            D. Order Defendants to pay the costs of this action; and

            E. Order such other relief as the Court deems necessary, just and proper.



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                                 COUNT V
         TRESPASS TO CHATTELS, COMPUTER TRESPASS AND CONVERSION

     83. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

         as though fully set forth herein.

     84. Defendants Unknown Registrant and Stands4 LTD have taken control of the Domain

         Name and are wrongfully exercising control and authority over the Domain Name and

         the associated webpage.

     85. The control and authority exercised by the Defendants Unknown Registrant and Stands4

         LTD deprives the Plaintiff of control and the revenue and business registered from

         Domain Name, as well as the value of the Domain Name itself.

     86. Defendants Unknown Registrant and Stands4 LTD are wrongfully exerting dominion and

         possession over Plaintiff’s property in denial of her rights and is intermeddling with the

         Plaintiff’s property rights.

         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter judgment in Plaintiff’s favor and against Defendants Unknown Registrant and Stands4

  LTD for Trespass to Chattels, Computer Trespass and Conversion, award Plaintiff actual and

  compensatory damages, statutory damages, attorney’s fees and costs of filing this lawsuit,

  transfer the ownership of www.calculator.com to CHLOE TSAKIRIS ALSTON, and for any

  further relief this Court deems just and proper.


                                  COUNT VI
    VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT OF 18 U.S.C. § 1030
                    (Against Defendant Unknown Registrant)

     87. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

         as though fully set forth herein.

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     88. Defendant Unknown Registrant knowingly and intentionally accessed Plaintiff’s hosting

         account and registrar account on protected computers exceeding his or her authorization

         and thereby obtained and used information from the protected computer systems in

         multiple transactions involving interstate and foreign communication in violation of 18

         U.S.C. § 1030(a)(2)(c).

     89. Defendant Unknown Registrant knowingly, and with intent to take Plaintiff’s revenue

         and business, accessed the Plaintiff’s hosting account and registrar account on protected

         computers exceeding his or her authority and used the access to transfer Plaintiff’s assets

         to him/herself in violation of 18 U.S.C. § 1030(a)(4).

     90. Plaintiff has suffered damages as a result of the conduct complained of and such conduct

         has caused a loss to the Plaintiff aggregating to approximately $10,000 per month,

         without accounting for the value of the Domain Name itself, which has been appraised at

         approximately $1,237,000 by estibot.com, a domain name appraisal service (see Exhibit

         “J”).

     91. As a direct result of the actions complained of, the Plaintiff has suffered, and continues to

         suffer, irreparable harm for which Plaintiff has no adequate remedy at law and which will

         continue unless enjoined.

         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter judgment in Plaintiff’s favor and against Defendant Unknown Registrant for Violation of

  the Computer Fraud and Abuse Act of 18 USC Section 1030, award Plaintiff actual and

  compensatory damages, statutory damages, attorney’s fees and costs of filing this lawsuit,

  transfer the ownership of www.calculator.com to CHLOE TSAKIRIS ALSTON, and for any

  further relief this Court deems just and proper.



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                                COUNT VII
    VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT OF 18 U.S.C. § 1030
                      (Against Defendant Stands4 LTD)

     92. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

        as though fully set forth herein.

     93. Defendant Stands4 LTD conspired with Defendant Unknown Registrant to knowingly

        and intentionally access Plaintiff’s hosting account and registrar account on protected

        computers exceeding his or her authorization and thereby obtained and used information

        from the protected computer systems in multiple transactions involving interstate and

        foreign communication in violation of 18 U.S.C. § 1030(b).

     94. Defendant Stands4 LTD knowingly conspired with Defendant Unknown Registrant, and

        with intent to take obtain ownership of Plaintiff’s Domain Name and the revenue and

        business associated with it, conspired with Defendant Unknown Registrant, who accessed

        the Plaintiff’s hosting account and registrar account on protected computers exceeding

        his or her authority and used the access to transfer Plaintiff’s assets to Defendant Stands4

        LTD in violation of 18 U.S.C. § 1030(a)(4).

     95. Plaintiff has suffered damages as a result of the conduct complained of and such conduct

        has caused a loss to the Plaintiff aggregating to approximately $10,000 per month,

        without accounting for the value of the Domain Name itself, which has been appraised at

        approximately $1,237,000 by estibot.com, a domain name appraisal service (see Exhibit

        “J”).

     96. As a direct result of the actions complained of, the Plaintiff has suffered, and continues to

        suffer, irreparable harm for which Plaintiff has no adequate remedy at law and which will

        continue unless enjoined.



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         WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON respectfully requests this Court

  enter judgment in Plaintiff’s favor and against Defendant Stands4 LTD for Violation of the

  Computer Fraud and Abuse Act of 18 USC Section 1030, award Plaintiff actual and

  compensatory damages, statutory damages, attorney’s fees and costs of filing this lawsuit,

  transfer the ownership of www.calculator.com to CHLOE TSAKIRIS ALSTON, and for any

  further relief this Court deems just and proper.


                                      COUNT VIII
                       COMMON LAW TRADEMARK INFRINGEMENT
                            (Against Defendant Stands4 LTD)

     97. The Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 41

         as though fully set forth herein.

     98. Defendant Stands4 LTD, without the consent of CHLOE TSAKIRIS ALSTON and

         having the knowledge of CHLOE TSAKIRIS ALSTON’s use and prior ownership of the

         Trademark, is using the Trademark in connection with the marketing and distribution and

         of the services offered on the website operated with the Domain Name

         www.calculator.com, which is likely to cause confusion or mistake or deceive the public

         as to the source or origin of such services.

     99. Defendant Stands4 LTD, without the consent of CHLOE TSAKIRIS ALSTON, is

         reproducing, copying and or colorably imitating the Trademark, and is applying such

         reproduction, copy and or colorable imitation to internet search engines and internet

         marketing on its website, www.calculator.com, with the intent to profit therefrom.

     100.        Defendant Stands4 LTD has used and is using the Trademark with actual

         knowledge that its use is not authorized by CHLOE TSAKIRIS ALSTON and is likely to

         cause confusion or mistake or to deceive.

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     101.      Defendant Stands4 LTD’s use of the Trademark has caused and is continuing to

        cause damage to CHLOE TSAKIRIS ALSTON.

     102.      The irreparable harm that Plaintiff has suffered and continues to suffer due to

        Defendant Unknown Registrant’s unauthorized transfer of the Domain Name, and

        Defendant Stands4 LTD’s continued use of the Domain Name, includes the following:

            a. Loss of business exposure to new and existing potential customers;

            b. Loss of cash flow and daily advertising revenue;

            c. Loss of organic search rankings;

            d. Loss of continuous operations of the business to build Plaintiff’s brand and

               business;

            e. Loss of brand equity in consumers being re-directed to a website that is not

               Plaintiffs, damaging Plaintiff’s name; and

            f. Loss of the value of the Domain Name itself.

               WHEREFORE, Plaintiff CHLOE TSAKIRIS ALSTON, respectfully requests that

        the Court enter judgment:

            A. Temporarily and permanently enjoining Defendants Unknown Registrant and

               Stands4 LTD, their officers, employees, and agents, and all persons or entities in

               active concert or participation with either of them, from using, displaying,

               advertising or selling services under, or otherwise doing business using the

               Trademark, including all formative variations thereof, and from using any name

               confusingly similar to the Trademark, including its present name;




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            B. Order Defendants to account for and pay all profits derived from, and all damages

                suffered by CHLOE TSAKIRIS ALSTON by reason of Defendants’ unlawful use

                of the Trademark;

            C. Order Defendants to pay the costs of this action; and

            D. Order such other relief as the Court deems necessary, just and proper.


  Dated: July 20, 2020


  Respectfully submitted,

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                                        VERIFICATION



         I verify under penalty of perjury that the foregoing is true and correct.



  Executed by me on this this 21
                              ____ day of July, 2020.



  _______________________________________
  Chloe Tsakiris Alston




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                                                                                     Audit Trail

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